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                             UNITED STATES BANKRUPTCY COURT
                                 DISTRICT OF PUERTO RICO

    IN RE:
                                                            CASE NO. 11-00716 BKT
           RAMON EUSEBIO NAVEDO RIVERA
               TANIA ORONA JIMENEZ                          CHAPTER 12

                          DEBTOR


PAYMENT PROPOSAL TO

   I.        CLASS 1 – TRUSTEE ADMINISTRATIVE

                The Chapter 12 trustee shall receive and retain as the trustee’s percentage fee

         under this plan an amount equal to ten percent (10%) of all payments distributed by the

         trustee pursuant to the plan with respect to payments in an aggregate amount not to

         exceed $450,000.00, five percent (5%) of all payments distributed by the trustee

         pursuant to the plan with respect to payments in an aggregate amount higher than the

         $450,000.01 but in excess of $1,000,000.00 and reasonable compensation not to

         exceed three percent (3%) of all payments distributed by the trustee pursuant to the

         plan with respect to payments in an aggregate amount that exceeds the before

         mentioned amount of $1,000,000.00.

   II.       CLASS 2 – ADMINISTRATIVE EXPENSES

                Shall consist of Allowed Administrative Expense Claims, as provided under

         Section 503 of the Code. This class shall be paid by the trustee in cash and in full as

         soon as practicable, on the later of (a) the Effective Date or (b) during the first year

         following the confirmation of the plan. These payments will be made by the Chapter 12

         trustee.

   III. CLASS 3- BANCO POPULAR PUERTO RICO – SECURED NOTES


         This creditor’s legal and equitable interest on the secured amounts will be modified upon
         the confirmation of this plan. Considering the value of the properties serving as
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      collateral for this claim, the secured amount under this class as of the date of filing of the
      instant petition shall be $2,837,335.84. Claim No. 1 for $43,649.76 will be paid in full by
      the Chapter 12 Trustee through the plan. Debtors will surrender one of the real
      properties listed in Schedule A to Banco Popular Puerto Rico. At the moment, Debtors
      cannot determine which of the real property is the one to be surrendered since there is
      confusion regarding the description in the Public Registry and the information provided
      from the documents and maps of Centro de Recaudacion Ingresos Municipales, herein
      CRIM. The confusion arises from the maps used in CRIM and the description provided
      in the deed when the loan was acquired.

      It is Debtors, understanding and as reflected in the dairy farms blueprints, the dairy Farm
      operation is in the lot of land compose of 75 cuerdas, registered at the Public Registry of
      San Sebastian, farm number 15,184, at Page 257, Volume 288, but in accordance to the
      bank records the operation is situated in the lot of land of 50 cuerdas, registered at the
      Public Registry of San Sebastian, farm number 15,188, at Page 218, Volume 288.

      Debtors have contacted a land surveyor and have visited the Federal Department of
      Agriculture and the CRIM’s regional office to ascertain the property where the dairy farm
      is located and property where the dairy farm structure in and as to which lot is occupying
      the Dairy Farm structures.

      It is Debtors intention to surrender the vacant lot. It is Debtors understanding that the
      vancant lot is the one compose of 50 cuerdas registered at the Public Registry of San
      Sebastian, farm number 15,188, at Page 218, Volume 288, valued in accordance to the
      appraisal herein submitted as Exhibit F in $750,000.00, amount to be applied to the
      debt owe to creditor Banco Popular Puerto Rico. Upon the result of the land survey,
      Debtors will revise the plan as needed in order to reflect the correct property to be
      surrendered to Banco Popular Puerto Rico and the amount to be applied to the
      loan.

      As a result of the surrendering of the property described above, the debt will be reduced
      to the amount $2,087,335.84. In regards to the mentioned remaining balance the same
      will be paid as follows:
              (i.) Creditor will receive during the first seven (7) months of the plan the amount
      of $4,400.00, meaning from May 2011 up to November 2011. After the seven (7)
      months elapse, Creditor will start receiving the restructured payment as established
      below.
      Debt Balance Restructuring Upon Confirmation – On the effective date of the plan,
      the outstanding secured debt of this creditor, considering interim payments due to this
      creditor and personal property as described herein will be restructured into an
      installment payment plan calling for consecutive monthly payments to pay the secured
      amount determined herein in cash and in full. The outstanding secured balance has
      been estimated in $2,087,335.84. With the filing of this Chapter 12 plan all assignments
      in favor of Creditor, Banco Popular Puerto Rico are discontinued meaning that Suiza
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      Dairy, Inc. will pay directly to Debtor.
        (i.) Creditor will commence receiving the restructured payment of the debt on
        December 2011. The payments to be received by creditor will be on the basis of
        consecutive monthly installments providing for the payment of the face amount with
        interests computed at a fixed 3.25%, during a period of fifty three (53) months but on
        amortization computed over thirty (30) years. Banco Popular Puerto Rico will receive
        the amount of $9,384.22, out of which $300.00 will be use to set up an escrow
        account. The remaining amount of $9,084.22 will be applied to interest and principal
        as per the loan’s amortization table; the before mentioned amount will commence on
        December 2011 up to April 2016.
        (ii.) Upon completion of the plan, the remaining secured balance of $1,892,077.08
        and beginning on May 2016 and up to April 2023, that is for eighty four (84) months,
        Banco Popular Puerto Rico will commence receiving payment that will be at an
        interest rate of 3.75% and amortized over a period of twenty (20) years. Starting in
        the 61 month of this plan, this discounted amount will be paid, with interest computed
        at a fixed rate of 3.75%, but on amortization computed over twenty (20) years,
        payable in monthly installments of no more than $11,517.90, of which $300.00 are to
        be applied to an escrow account and the remaining $11,217.90 to be applied to
        principal and interest as per the amortization table included in Exhibit D. These
        payments will start following the consummation of the plan and will continue until April
        2023. Refer to the loan calculator tables enclosed herein as Exhibit D.
        (iii.) After the eighty four (84) months period has elapsed Debtors restructure the
        remaining balance of $1,383,385.10. Beginning on May 2023 and up until full
        payment on April 2033, Banco Popular Puerto Rico will commence receiving payment
        that will be at an interest rate of 4.25% and amortized over a period of ten (10) years.
        Starting on May 2023 debtors will commence making payments of $14,471.06, of
        which $300.00, will be applied to an escrow account and the remaining $14,171.06 to
        be applied to principal and interest as per the loan amortization table enclosed. Refer
        to Exhibit D.
        If at any moment, Debtors decide to sale or refinance there will be no penalties as to
        the unpaid balance. Regarding the security agreements over personal property, this
        creditor will retain unaltered the legal and contractual rights over the property serving
        as collateral until full payment of the secured amount as detailed in the plan, except to
        the assignment of the milk production payments paid by Suiza Dairy, Inc.

       With the filing of this Chapter 12 plan all assignments in favor of Creditor, Banco Popular
   Puerto Rico are discontinued meaning that Vaqueria Tres Monjitas, Inc. will pay directly to
   Debtor. The payments proposed derive from the milk production proceeds. Creditor will
   receive monthly payments through the Chapter 12 Trustee as described above. Upon
   completion of the plan will continue making monthly payments directly to creditor as
   described above up until full payment of the outstanding secured claim as stated in the
   reorganization plan.

      Any additional amount due to this creditor in excess of the secured amounts, as stated
   herein, shall be deemed as general unsecured claim, with this remaining amount included
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   within class 5 of the plan.

    IV.       CLASS 4 – CRIM – SECURED CLAIM, PROOF OF CLAIM NO. 5

          Centro de Recaudación de Ingresos Municipales (“CRIM”) filed a proof of claim in the

          amount of $11,972.06 (Claim no. 5).    The amounts claimed by creditor CRIM are not

          owed by debtors. The property number pertains to another property not belonging to

          them. Debtors are exempt of property taxes since they are bona fide farmers. Debtors

          reviewed the property tax exemption at the regional office of CRIM at Aguadilla. As per

          debtors’ certification the property is current in the property taxes.   Creditor will not

          receive any kind of disbursement from the Chapter 12 Trustee. Enclosed certification as

          Exhibit H; see also Exhibit G.

    V.        CLASS 5 – GENERAL UNSECURED CREDITORS

          General unsecured creditors considering those listed by debtors, those who filed a proof

          of claim and those secured creditors, who have agreed to be considered part of their

          claim as unsecured, are included in this class. The debt under this class has been

          estimated by debtor in the amount of no more than $40,565.62, including the

          corresponding interest prime rate.


          Summary Of Plan Payments

          The Trustee will disburse payments to the secured creditors described above. The

proposed payment schedule through the Chapter 12 Trustee for all creditors will be:

                 Monthly payments of $6,000.00 for seven (7) months, for a total of $42,000.00

                 and;

                 Monthly payments of $11,440.00 for fifty three (53) months, for a total of

                 $606,320.00.

          The total amount of the plan base is $648,320.00. These payments will be paid directly

by Debtor to the trustee from the business operations, named Vaqueria Montania.
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       Each Class 5 claimant shall receive from the trustee 100% dividends plus interest

(3.25%) during a period of five (5) years, these payments starting thirty (30) days after the

confirmation of the plan, on the basis of consecutive monthly installments providing for the

payment of the face amount, as per the Schedule Payments under the Plan of Reorganization

enclosed herein as Exhibit C.
